Case 2:04-Cv-02389-.]PI\/|-tmp Document 40 Filed 08/04/05 Page 1 of 2 Page|D 67

e.¢,.
IN THE UNITED STATES DISTRICT coURT F"-ED BY -%-
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THOM¢\S M GGU'£D
CLERK US I`: \T~’*°T COURT
W;D q;' ' g 1953

ARTURO AGUIRRE CRUZ, Individually )
and as Next of Kin to MAXIMINO )
AGUIRRE, Deceased; MARIA LUZ )
VENEGAS ESTRADA, Individually, as )
Next of Kin to MAXIMINO AGUIRRE, )
Deceased and on behalf of MARITZA )
AGUIRRE VENEGAS, a minor; and )
AURELIANO VALDES BLAS, )
Individually )
)

Plaintifi`s, )

) No. 04-2389-M1P

) JURY DEMAND

)

)

)

vs.
FORD MOTOR COMPANY

Defendant.

ORDER FOR ADMISSION PRO HAC VICE

 

This matter coming before the Court upon motion of Stephen A. Marcum, for the
admission pro hac vice of Paul F. Malek, an attorney with the law firm of Huie, Fernambucq and
Stewart, LLP, ThIee Protective Center, Suite 200, 2801 Highway 280 South, Birmingham,
Alabama 35223-2484, and the Court being advised:

IT IS HEREBY ORDERED that Paul F. Malek, be permitted entry of appearance on

behalf of the Defendant Ford Motor Company, pro hac vice.

UISTRICT COURT JUDGE

DATE; 8005

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 40 in
case 2:04-CV-023 89 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

